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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


ALEXIS TEMPLETON, et al.,                    )
                                             )
             Plaintiffs,                     )
                                             )
       vs.                                   )         Case No. 4:14-CV-2019 (CEJ)
                                             )
SAM DOTSON, Chief of Police, City            )
of St. Louis, et al.,                        )
                                             )
             Defendants.                     )


                           TEMPORARY RESTRAINING ORDER

      This matter is before the Court following a hearing on the plaintiffs’ motion for

a temporary restraining order. Plaintiffs Alexis Templeton, Maureen Costello, Brittany

Ferrell, Steven Hoffman, Nile McClain, and Kira Hudson Banks seek a temporary

restraining order directing law enforcement officials to protect the First Amendment

rights of protesters.      Since November 24, 2014, plaintiffs have participated in or

observed protest activities that have occurred in various locations in St. Louis city and

St. Louis County. The protests began in August 2014, initially in response to the

shooting death of Michael Brown by a Ferguson, Missouri police officer, and have

continued since that time. The protests were at first centered in the Ferguson area

where the shooting occurred but later expanded into other areas, particularly after it

was announced on November 24, 2014 that a state grand jury had declined to indict

the officer. The defendants are the chief of police of the St. Louis Metropolitan Police

Department, the chief of police of the St. Louis County Police Department, and a

captain of the Missouri Highway Patrol.       The defendants are sued in their official

capacities as members of the Unified Command, an organization created by the

executive order issued by the governor declaring a state of emergency in Missouri

                                                                             EXHIBIT B
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following the death of Michael Brown. The Court has jurisdiction of this matter pursuant

to 28 U.S.C. § 1331, in that the plaintiffs assert a claim under 42 U.S.C. § 1983,

alleging violation of their rights under the First Amendment to the United States

Constitution. Notice of the complaint and motion was given to the defendants, each

of whom appeared by counsel at the hearing.

         In determining whether to issue a temporary restraining order, the Court must

consider the factors set forth in Dataphase Systems, Inc. v. C.L. Systems, Inc., 640

F.2d 109 (8th Cir. 1981): (1) the threat of irreparable harm to the plaintiffs if the order

is not issued, (2) the balance between this harm and the injury that granting the

restraining order will inflict on the defendants, (3) the probability of the plaintiffs’

success on the merits, and (4) the public interest. After considering these factors, the

Court concludes that the plaintiffs have established their entitlement to a temporary

order.

         The evidence establishes that the defendants created policies and procedures

for the law enforcement response to the protests, including authorizing the use of tear

gas and other chemical agents for the purpose of dispersing crowds of protesters. The

evidence also establishes that law enforcement officials in St. Louis City and St. Louis

County were authorized to use smoke canisters and tear gas to disperse crowds of

protesters, including plaintiffs, who were not engaged in violent or criminal activity.

The evidence also establishes that the law enforcement officials failed to give the

plaintiffs and other protesters any warning that chemical agents would be deployed

and, hence, no opportunity to avoid injury. As a result, the plaintiffs’ ability to engage

in lawful speech and assembly is encumbered by a law enforcement response that

would be used if a crime were being committed. Additionally, the public has a strong



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interest in protecting the right of individuals to peacefully protest. The defendants will

not suffer any harm by the issuance of an order requiring them to make sure the

constitutional rights of the plaintiffs and others are protected.

      Accordingly,

      IT IS HEREBY ORDERED that the motion of the plaintiffs for a temporary

restraining order [Doc. #2] is granted.

      IT IS FURTHER ORDERED that defendants Sam Dotson, Jon Belmar, and

Ronald Johnson, and their agents, servants, employees, and representatives, are

hereby enjoined from enforcing any rule, policy, or practice that grants law

enforcement officials the authority or discretion to:

      (1) utilize tear gas, inert smoke, pepper gas, or other chemical agents
      (collectively, “chemical agents”) for the purpose of dispersing groups of
      individuals who are engaged in peaceful, non-criminal activity in the City of St.
      Louis or in the County of St. Louis

             (a) without first issuing clear and unambiguous warnings
             that such chemical agents will be utilized;

             (b) without providing the individuals sufficient opportunity
             to heed the warnings and exit the area;

             (c) without minimizing the impact of such chemical agents
             on individuals who are complying with lawful law
             enforcement commands; and

             (d) without ensuring that there is a means of safe egress
             from the area that is available to the individuals; and

      (2) utilize chemical agents on individuals engaged in peaceful, non-criminal
      activity in the City of St. Louis or in the County of St. Louis for the purpose of
      frightening them or punishing them for exercising their constitutional rights.

             IT IS FURTHER ORDERED that the plaintiffs will not be required to post

      a bond or other security.




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      IT IS FURTHER ORDERED that this matter is set for a preliminary injunction

hearing on Tuesday, January 6, 2015, at 9:30 a.m.




                                               ___________________________
                                               CAROL E. JACKSON
                                               UNITED STATES DISTRICT JUDGE


Dated this 11th day of December, 2014.




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